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                                               UNITED STATES DISTRICT COURT FOR THE
                          2                       CENTRAL DISTRICT OF CALIFORNIA
                          3
                               T.P., et al.,                                 )
                          4                                                  )
                          5                    Plaintiffs,                   ) Case No.: 15-cv-5346-R
                                                                             )
                          6
                                       v.                                    )
                          7                                                  ) Judge: Hon. Cormac J. Carney
                          8    WALT DISNEY PARKS                         AND ) Trial Date: TBD
                               RESORTS U.S. INC.,                            )
                          9                                                  )
                         10            Defendant.                            )
                                                                           /
                         11
                         12
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                         17
                         18                 EVIDENCE IN SUPPORT OF PLAINTIFFS’ OPPOSITIONS TO
                                              DEFENDANT’S MOTIONS FOR SUMMARY JUDGMENT
                         19
                         20
                         21
                         22
                                                                   Exhibit “H”
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                                Exhibits in Support of Plaintiffs’ Oppositions to Motions for Summary Judgment
                                T.P., et al. v. Walt Disney Parks & Resorts US, Inc.                        Case No. 15-CV-5346-R
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                                Attorneys for Plaintiffs
                           20
                           21                   UNITED STATES DISTRICT COURT FOR THE
                                                   CENTRAL DISTRICT OF CALIFORNIA
                           22
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                                  Plaintiffs V.L.B.’s and S.L.B.’s Answers to Defendant’s Second Set of Interrogatories
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                            1    T.P., et al.,                                   )         Case No.: 15-cv-5346-R
                                                                                 )
                            2                     Plaintiffs,                    )        PLAINTIFFS V.L.B.’S AND
                            3                                                    )        S.L.B.’S SUPPLEMENTAL
                                          v.                                     )        ANSWERS TO DEFENDANT’S
                            4                                                    )        SECOND SET OF
                            5    WALT DISNEY PARKS                           AND )        INTERROGATORIES
                                 RESORTS U.S. INC.,                              )
                            6
                                                                                 )        Hon. Manuel L. Real
                            7                     Defendant.
                            8                                                      /

                            9          Plaintiffs, V.L.B., by and through S.L.B., as Next Friend, Parent and
                           10   Natural Guardian, and S.L.B., individually, by and through undersigned counsel,
                           11   and pursuant to Federal Rule of Civil Procedure 33, supplements their Answers
                           12   to Defendant’s Second Interrogatories to Plaintiffs dated September 4, 2019 as
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                           13   follows:
                           14                                    GENERAL OBJECTIONS
                           15          Plaintiffs     object      to   and     disregard       Disney’s      “Instructions”        and
                           16   “Definitions” to the extent they exceed or contradict the requirements of the
                           17   Federal Rules of Civil Procedure, the Court’s Local Rules, and applicable law.
                           18   Words will be defined by their common, customary meaning.
                           19                                            RESPONSES
                           20          INTERROGATORY NO. 13: For each person identified in your response
                           21   to Interrogatory No. 1 (verified on April 9, 2016, as well as any supplementary
                           22   responses to this interrogatory), describe the nature of your relationship with that
                           23   individual, identify every date on which that individual attended any of the
                           24   Disney Parks with you, and for each of those dates, describe the approximate
                           25   length of time that he/she spent with you, the nature of the individual's knowledge
                           26   regarding that visit.
                           27   ANSWER: Respondents hereby provide the following:
                           28
                                                                                Page 5
                                  Plaintiffs V.L.B.’s and S.L.B.’s Answers to Defendant’s Second Set of Interrogatories
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                            1                         hin, mother, attended Disney Parks with V.L.B. in January 2011
                            2   (Disneyworld), January 2013 (Disneyland, California Adventure), August 7-8,
                            3   2014 (Disneyland, California Adventure), and April 2-3, 2019 (Disneyworld).
                            4                     was present with V.L.B. during the trip but Respondents do not
                            5   recall the exact length of time.                                  has knowledge of the facts
                            6   summarized in the answer to Interrogatory No. 8.;
                            7                                            , father, attended Disney Parks with V.L.B. in
                            8   January 2011 (Disneyworld), January 2013 (Disneyland, California Adventure),
                            9   August 7-8, 2014 (Disneyland, California Adventure), and April 2-3, 2019
                           10   (Disney World).                            was present with V.L.B. during the trip but
                           11   Respondents do not recall the exact length of time.                                  has knowledge
                           12   of the facts summarized in the answer to Interrogatory No. 8.;
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                           13                                 , sister, attended Disney Parks with V.L.B. in January
                           14   2011 (Disneyworld), January 2013 (Disneyland, California Adventure), August
                           15   7-8, 2014 (Disneyland, California Adventure), and April 2-3, 2019 (Disney
                           16   World).                       was present with V.L.B. during the trip but Respondents
                           17   do not recall the exact length of time.                              has knowledge of the facts
                           18   summarized in the answer to Interrogatory No. 8.; and
                           19          Laura Reis, family friend, attended Disney Parks with V.L.B. in January
                           20   2011 (Disneyworld), January 2013 (Disneyland, California Adventure), and
                           21   August 7, 2014 (Disneyland, California Adventure). Ms. Reis was present with
                           22   V.L.B. during the trip but Respondents do not recall the exact length of time.
                           23   Respondents are informed and believe that Ms. Reis’ knowledge includes the
                           24   facts summarized in response to Interrogatory No. 8.
                           25
                           26          INTERROGATORY NO. 14: Provide a computation of each category
                           27   of damages Plaintiffs seek to recover in this lawsuit, and include in your
                           28
                                                                                Page 6
                                  Plaintiffs V.L.B.’s and S.L.B.’s Answers to Defendant’s Second Set of Interrogatories
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                            1   response how you calculated the amount of such damages, which should
                            2   include identification in detail of each harm that Plaintiffs contend they have
                            3   suffered, including a quantification of any harms in dollar terms.
                            4
                            5   ANSWER: Respondents continue to investigate the subject of this request and
                            6   reserve the right to supplement their response. Respondents anticipate an award
                            7   of damages based on the following:
                            8            Statutory Damages:              Respondents incurred damages caused by the
                            9   discriminatory acts of Disney.                Such acts were and are in violation of the
                           10   American’s with Disabilities act and entitled the Plaintiffs to statutory damages
                           11   in the amount of $50,000.
                           12            Actual Damages: Respondents incurred actual damages caused by the
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                           13   discriminatory actions of Disney including the costs of visit to the parks which
                           14   totals approximately $3,186.16 as follows:
                           15            a.      $2089.16 (August 7-8, 2014) $1020.00 for four 2-Day Park Hopper
                           16   tickets at $255.001 ea., hotel $264.41, rental car $804.75, as well as dining and airfare
                           17   according to proof; and
                           18            b.      $1,097.00 (April 2-3, 2019) $1,036.00 for four 2-Day Park Hopper
                           19   tickets at $259.001 ea. and replacement of medication $61.00 as well as dining,
                           20   lodging, transportation and airfare according to proof.
                           21            General Damages: Respondents incurred general damages caused by the
                           22   discriminatory actions of Disney including mental anguish and inconvenience.
                           23   To the extent that these damages are quantifiable, they will be established at trial
                           24   according to proof.
                           25
                           26   1
                                   Prices based on historic Disney ticket prices found at http://allears.net/walt-
                           27   disney-world/wdw-planning/2010s-walt-disney-world-tickets/ (last visited Oct.
                                2, 2019), see VJB,SLB0179-0220.
                           28
                                                                                  Page 7
                                    Plaintiffs V.L.B.’s and S.L.B.’s Answers to Defendant’s Second Set of Interrogatories
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                            1          Attorney Fees & Costs: Respondents have incurred attorney fees and costs
                            2   in order to protect their rights under the American with Disabilities Act, their
                            3   rights under contract and tort law and is investigating the exact costs and
                            4   anticipates that this amount will increase based on Defendant’s prior strategy.
                            5
                            6          INTERROGATORY NO. 15: Identify the name, title, address, telephone
                            7   number, and fax number of all medical doctors, health care providers, mental
                            8   health providers, counselors, or other service providers (including, but not
                            9   limited to any primary care physician, neuropsychologist, psychologist,
                           10   psychotherapist, therapist, social worker, counselor, or psychiatrist) who have
                           11   provided care or services to S.L.B. or who otherwise have knowledge or
                           12
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                                information about S.L.B.’s mental health status or history, and for each doctor
                           13   or provider identified, specify the dates of service, reason services were sought or
                           14   provided, and description of services provided during the past six (6) years, and
                           15   whether treatment or services are on-going.
                           16          ANSWER: S.L.B. objects to this request to the extent that it is overbroad
                           17   and seeks irrelevant information. Plaintiffs agree to provide plaintiffs’ primary
                           18   care providers, psychiatrists, therapists and other doctors with whom plaintiffs
                           19   have a basis to believe that there could be relevant records or testimony. Subject
                           20   to and without waiving this request, S.L.B. has been treated by her primary care
                           21   provider Gaurang Zala, M.D., 3700 203rd St., Olympia Fields, IL 60461, Ph.
                           22   708-709-6295. S.L.B. does not recall the exact dates of treatment or diagnoses.
                           23
                           24          INTERROGATORY NO. 16: For every doctor or provider identified in
                           25   response to Interrogatory No. 3 (verified on April 9, 2016, as well as any
                           26   supplementary responses to this interrogatory), identify all dates of service, and
                           27
                           28
                                                                                Page 8
                                  Plaintiffs V.L.B.’s and S.L.B.’s Answers to Defendant’s Second Set of Interrogatories
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                            1   for each date of service explain the reason services were sought or provided and
                            2   description of services provided and whether treatment or services are ongoing.
                            3          ANSWER:           In addition to receiving past treatment from the medical
                            4   providers listed in response to Interrogatory No. 3 and newly listed providers,
                            5   V.L.B. currently treats with providers whose names are italicized. With respect
                            6   to the portion of Interrogatory No. 16 that seeks “all dates of service” and “the
                            7   reason services were sought or provided, and description of services provided,”
                            8   Respondents rely on Rule 33(d) and will identify the records that Defendant can
                            9   review to obtain the requested information. The providers’ information is set forth
                           10   below to the extent known.
                           11          a.      ATI Physical Therapy Center, 4334 Fox Valley Center Dr., Aurora, IL
                           12    60504, Ph. 630-236-7544: see answer to Interrogatory No. 3;
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                           13          b.      John D. Atkinson, Psy.D., Chicago NeuroBehavioral Specialists, Ltd.,
                           14    15010 S. Ravinia Ave., Ste. 14, Orland Park, IL 60462, Ph. 708-349-4420: see Bates
                           15    Nos. VJB,SLB0011-0018 and VJB,SLB0075-0078;
                           16          c.      ATI/Oak Therapy, 19552 S. Harlem Ave., Frankfort, IL, 60423, Ph.
                           17    815-464-3525: ATI/Oak Therapy provides physical therapy to V.L.B.;
                           18          d.      Athletico, 909 Davis St., Ste. 220, Evanston, IL 60201, Ph. 847-733-
                           19    7906: see answer to Interrogatory No. 3;
                           20          e.      Brian Baud, M.S., OTR/L, Children’s Therapy Services, 39 Colorado
                           21    Ave., Frankford, IL 60423, Ph. 815-469-1117: see Bates No. VJB,SLB0065;
                           22          f.      Julie Belka, M.A., CCC-SLP, SpeechPlus, 10071 W. Lincoln Hwy.,
                           23    Frankfort, IL 60423, Ph. 815-464-6069: see Bates Nos. VJB,SLB0001-0010 and
                           24    VJB,SLB0084;
                           25          g.      Ronald W. Bennett, L.C.P.C., Family, Child, & Adolescent Psychiatric
                           26    Services 3235 Vollmer Rd., Ste. 137, Flossmoor, IL 60442, Ph. Ph. 815-351-2299:
                           27    see Bates Nos. VJB,SLB0043-0044;
                           28
                                                                                Page 9
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                            1          h.      Julie Bennington, PsyD, Palos Behavioral Health Professionals, 9990
                            2    W. 190th St., Ste. C, Mokena, IL 60448, Ph. 708-671-8440: Mental health therapy
                            3    and EEG biofeedback;
                            4          i.      Jim Boyd, M.S., CRC, CVE, LCPC, The Evaluation Center, 2100
                            5    Pfingsten Rd., Glenview, IL 60026, Ph. 708-449-7748: see Bates No.
                            6    VJB,SLB0019-0028, VJB,SLB0102-0108, and VJB,SLB0166-0172;
                            7          j.      Children’s Therapy, 10087 W. Lincoln Hwy., Frankfort, IL 60423, Ph.
                            8    815-469-1118: see answer to Interrogatory No. 3;
                            9          k.      Clearbrook, 2777 Finley Rd., Ste.s. 21 & 22, Downers Grove, IL 60515,
                           10    Ph. 630-705-9351: Clearbrook provides self-direction assistance;
                           11          l.      Anna Jasiewicz, PsyD, BCN, Palos Behavioral Health Professionals,
                           12    9990 W. 190th St., Ste. C, Mokena, IL 60448, Ph. 708-671-8440: Mental health
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                           13    therapy and EEG biofeedback;
                           14          m.      Khadija T. Khan, M.D., Oak Brook Behavioral Health, 18W100 22 nd
                           15    St., Ste. 130, Oakbrook Terrace, IL 60181, Ph. 630-424-9204: see Bates Nos.
                           16    VJB,SLB0046-0048, VJB,SLB0082;
                           17          n.      William G. Klipfel, M.D., 20200 Governors Dr., Ste. 101, Olympia
                           18    Fields, IL 60461: see answer to Interrogatory No. 3;
                           19          o.      Paul C. Kredow, Psy.D., Primary Care Psychology Associates, LLC,
                           20    last known address is 465 Central Ave., Ste. 201, Northfield, IL 60093, Ph. 847-
                           21    686-0090: see Bates Nos. VJB,SLB0029-0039;
                           22          p.      Jean Kulczyk, M.Ed., Special Education Consultant, current address
                           23    believed to be 102 Willow Dr. Waukegan, IL, 60087, see Bates No. VJB,SLB0144-
                           24    0162;
                           25          q.      Marionjoy Rehabilitation Hospital, 26171 Roosevelt Rd., Wheaton, IL
                           26    60187, Ph. 630-909-800: see answer to Interrogatory No. 3;
                           27
                           28
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                            1          r.      Janet Marsden-Johnson, Ph.D., CCC-SLP, Assistive Technology
                            2    Evaluations, University of Illinois, 707 Westgate Rd., Deerfield, IL 60015, Ph. 847-
                            3    498-2003: see answer to Interrogatory No. 3;
                            4          s.      Julie Martin M.A., CC-SLP/L, By Your Side, An Autism Language
                            5    Center, address believed to be 16W361 S. Frontage Rd., Ste. 131, Burr Ridge, IL
                            6    60526, Ph. 630-590-5571: see answer to Interrogatory No. 3 and Bates No.
                            7    VJB,SLB0086-0097;
                            8          t.      Kate Martinek, M.A., BCBA, Regional Director, Cornerstone Autism
                            9    Services, 7360 Lincoln, AVE., Ste. 110, Lincolnwood, IL 60712, Ph. 847-983-4204:
                           10    Ms. Martinek provides behavioral consulting services;
                           11          u.      Renee Matlock, SpeechPlus, 10071 W. Lincoln Hwy., Frankfort, IL
                           12    60423, Ph. 815-464-6069: see Bates Nos. VJB,SLB0001-0010 and VJB,SLB0083-
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                           13    0085;
                           14          v.      Lindsay Rice Michalewicz, M.A., BCBA, Dynamic Behavior
                           15    Consulting, LTD, currently with Center for Behavior Intervention, Inc., 19056
                           16    Henry Dr., Mokena, IL 60448, Ph. 708-271-3478: see Bates No. VJB,SLB0098-
                           17    0101;
                           18          w.      Nancy S. Milnes, LCSW, 2024 Hickory Rd., No. 201, Homewood, IL
                           19    60430, Ph. 773-818-8329(m): see Bates Nos. VJB,SLB0040-0042, VJB,SLB0143;
                           20          x.      Newsome Physical Therapy Center, 11334 W. Lincoln Hwy., Mokena,
                           21    IL 60448, Ph. 815-806-1455: see answer to Interrogatory No. 3;
                           22          y.      Options for College Success, last known address was 820 Davis St., Ste.
                           23    455, Evanston, IL 60461, Ph. 847-425-4797 x202: see answer to Interrogatory No.
                           24    3;
                           25          z.      Kelly Oster, M.A., Primary Care Psychology Associates, LLC, last
                           26    known address is 465 Central Ave., Ste. 201, Northfield, IL 60093, Ph. 847-686-
                           27    0090: see Bates Nos. VJB,SLB0029-0039;
                           28
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                                  Plaintiffs V.L.B.’s and S.L.B.’s Answers to Defendant’s Second Set of Interrogatories
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                            1          aa.     Clara Perez, M.D., Family, Child, & Adolescent Psychiatric Services,
                            2    S.C., 3235 Vollmer Rd., Ste. 137, Flossmoor, IL 60442, Ph. 708-206-1300: see
                            3    Bates Nos. VJB,SLB0043-0045, VJB,SLB0049-0051, and VJB,SLB0131-0133;
                            4          bb.     Matthew P. Richmond, Psy.D., Primary Care Psychology Associates,
                            5    LLC, last known address is 465 Central Ave., Ste. 201, Northfield, IL 60093, Ph.
                            6    847-686-0090: see Bates Nos. VJB,SLB0029-0039;
                            7          cc.     Patricia S. Rom, M.A., CCC-SLP/L, last known address was 108
                            8    Garrison Ave., Wilmette, IL 60091, possible Ph. 847-322-3913: see Bates Nos.
                            9    VJB,SLB0079-0081;
                           10          dd.     Elizabeth Watson, Rehabilitation Counselor, Watson Vocational
                           11    Rehabilitation Resources, Inc., 126 E. Wing St., Arlington Heights, IL 60004, Ph.
                           12    847-259-3925: see Bates Nos. VJB,SLB0109-0127;
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                           13          ee.     Karen Welborn, 2301 W. 83rd, Homewood, IL 60430, Ph. 219-765-
                           14    4712: see answer to Interrogatory No. 3;
                           15          ff.     Semone West, M.D., 333 N. Madison St., Joliet, IL 60435, Ph. 815-741-
                           16    7530: Dr. West provides psychiatric and neurological care;
                           17          gg.     Westside Children’s Therapy, 21000 S. Frankford Square Rd.,
                           18    Frankfort, IL 60423, Ph. 815-469-1500: see Bates Nos. VJB,SLB0066-0074;
                           19          hh.     John Zajecka, M.D., Rush University Medical Center, 1700 W. Van
                           20    Buren, 5th Floor, Chicago, IL 60712, Ph. 312-942-5592: V.J.B. participates in Dr.
                           21    Zajecka’s study on autism; and
                           22          ii.     Gaurang Zala, M.D., 3700 203rd St., Olympia Fields, IL 60461, Ph. 708-
                           23    709-6295: Dr. Zala provides primary care services.
                           24
                           25          INTERROGATORY NO. 17: Identify in detail any medical or mental
                           26   health diagnoses that Plaintiffs have received over the past six (6) years and the
                           27   current status of any such diagnoses, including whether any drugs or therapy were
                           28
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                            1   prescribed and/or provided. Your answer should specify when each illness,
                            2   disease, disability, psychological condition, or other physical or mental condition
                            3   for manifested, was first diagnosed, the health care provider who made the
                            4   diagnosis, its treatment and duration and whether Plaintiff was hospitalized or
                            5   institutionalized for it (and if so, when and where).
                            6   ANSWER: Objection in that this request is duplicative of requests Nos. 3, 15,
                            7   and 16. V.L.B. has been diagnosed with Autism, Asperger’s Syndrome, ADHD,
                            8   hypotonia, anxiety disorder, dysthymia and sensory integration disorder. Please
                            9   refer to the answers to Interrogatories 3, 15, and 16 and document produced in
                           10   response to Disney’s requests for production for further information .
                           11
                           12          INTERROGATORY NO. 18: Identify any visits made by Plaintiffs to
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                           13   any Disney Park not previously identified in your response to Interrogatory No.
                           14   8, including but not limited to the following for each visit:
                           15          a. The date(s) of the visit(s);
                           16          b. What ticket media was used to enter the park(s);
                           17          c. Any services or accommodations provided to (or available for use by)
                           18               Plaintiffs during each visit, including DAS or readmission passes; and
                           19          d. All rides, attractions, shows, stores, character meet and greets, and other
                           20               activities that Plaintiffs attended or experienced during each visit.
                           21   ANSWER: Respondents visited Disneyworld:
                           22          a.      April 2-3, 2019;
                           23          b.      2-Day Park Hopper passes;
                           24          c.      DAS; and
                           25          d.      Respondents were only able to attend one park per day. On April 2nd,
                           26   the DAS system did not work as anticipated so they were only able to attend a few
                           27
                           28
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                            1   rides. They do not recall which attractions, or the order of the attractions visited on
                            2   either day.
                            3
                            4           INTERROGATORY NO. 19: Aside from Disney Parks, identify each
                            5   and every amusement or theme park Plaintiffs have visited, either individually or
                            6   together, over the past five (5) years, the type of ticket used to access each park,
                            7   any services or accommodations provided to Plaintiffs at those parks, and the
                            8   dates of each visit.
                            9   ANSWER: Respondents visited Six Flags Great America, Gurnee, IL using a
                           10   disability pass. The disability pass allowed V.L.B. to access the ride through the
                           11   exit.
                           12
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                           13           INTERROGATORY NO. 20: Identify any trips or vacations taken by
                           14   V.L.B. since April 9, 2016 and indicate whether V.L.B. travelled by car or plane
                           15   for each such trip or vacation.
                           16   ANSWER: Since April 9, 2016, Respondents have taken:
                           17           a.     2016, Carbondale, IL via car;
                           18           b.     January 2018, Respondents flew to Las Vegas, NV, drove to Phoenix,
                           19   AZ then returned home from Phoenix via airplane; and
                           20           c.     September 23, 2019-October 3, 2019, Respondents flew to London,
                           21   traveled by train to Paris and returned by air to Chicago.
                           22
                           23           INTERROGATORY NO. 21: Describe all full or part-time employment
                           24   V.L.B. has had over the past five (5) years, including, for each employer, the
                           25   employer’s name and address, a description of V.L.B.’s responsibilities, V.L.B.’s
                           26   title(s) during the period of employment, employment begin and end dates,
                           27
                           28
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                            1   whether the employment is/was full or part time, and the name and contact
                            2   information for all supervisors and/or managers.
                            3   ANSWER: V.L.B. is employed with Jewel Food Stores, 17705 S. Halsted St.,
                            4   Homewood, IL, Ph. 708-957-1810 and has been supervised by Karen Welborn
                            5   (219-765-4712).         V.L.B.’s duties have included bagging groceries, retrieving
                            6   carts from the lot, and cashiering. V.L.B. also receives job coaching through the
                            7   Division of Rehabilitation Services, Ph: 800-843-6154 and through self-direction
                            8   assistance by Clearbrook/Department of Human Services, information supra.
                            9
                           10            INTERROGATORY NO. 22: Describe all volunteer positions, training
                           11   programs, group activities or sports, classes, or other regularly scheduled
                           12   activities in which V.L.B. participated over the past five (5) years, including, for
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                           13   each activity, the name and description of the activity, a description of V.L.B.’s
                           14   participation in the activity, activity begin and end dates, frequency of V.L.B.’s
                           15   participation in the activity, and name and contact information for any teacher,
                           16   supervisor, coordinator, instructor, caretaker, counselor, coach, or other leader
                           17   with knowledge of V.L.B.’s participation in the activity.
                           18   ANSWER: Please review answers to Interrogatories Nos. 3 and 6 which address
                           19   the information this request seeks. V.L.B. has participated and participates in the
                           20   programs below. The names of current programs are italicized:
                           21            a.    Valparaiso University, 1700 Chapel Dr., Valparaiso, IN 46383, Ph. 219-
                           22   464-5000: V.L.B. received reasonable accommodations, see answer to Interrogatory
                           23   No. 3;
                           24            b.    Evaluation and Developmental Center at Southern Illinois University,
                           25   1220 Douglas Dr., Carbondale, IL 62901, Ph. 618-536-7704: V.L.B. received
                           26   reasonable accommodations, see answer to Interrogatory No. 3;
                           27
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                            1          c.      Southern Illinois University, 1263 Lincoln Dr., Carbondale, IL 62901-
                            2   6899, Ph. 618-453-2121: V.L.B. received reasonable accommodations, see answer
                            3   to Interrogatory No. 3;
                            4          d.      Porter County Special Olympics Indiana, 980 Portage Ave., Porter, IN
                            5   46304, Ph. 219-465-1323: Special Olympics basketball while attending Valparaiso
                            6   University;
                            7          e.      Lincolnway Special Recreation Association (“LWSRA”), 1900
                            8   Heatherglen Dr., New Lenox, IL 60451, Ph: 815-320-3500: Special Olympics
                            9   basketball for the past three years as well as track beginning last year; and
                           10          f.      V.L.B. has participated in volunteer activities over the past five years.
                           11
                           12                                 CERTIFICATE OF SERVICE
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                           13          I HEREBY CERTIFY that on this 11th day of October, 2019 a true and
                           14   correct copy of the foregoing was furnished via electronic mail to:
                           15
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                           23
                                                                       DOGALI LAW GROUP, P.A.
                           24
                           25                                           /s/Andy Dogali
                                                                       Andy Dogali, Esq.
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                           27                                          Barbara U. Uberoi, Esq.
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                           28
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